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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

UNITED STATES OF AMERICA,                 §
                                          §
      Plaintiff,                          §
                                          §
v.                                        §     CASE NO.    7:19-CV-403
                                          §
WE BUILD THE WALL, INC.,                  §
FISHER INDUSTRIES, FISHER SAND            §
AND GRAVEL CO., AND NEUHAUS &             §
SONS, LLC.,                               §
                                          §
      Defendants.                         §
______________________________________________________________________________

 PLAINTIFF’S EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
                       AND PRELIMINARY INJUNCTION
______________________________________________________________________________

TO THE HONORABLE JUDGE OF THIS COURT:

       The United States of America, pursuant to Article 24 of the 1944 Treaty between the

United States and Mexico (Utilization of Water of the Colorado and Tijuana Rivers and of the

Rio Grande, US -Mex, Feb. 3, 1944, T.S. 944.) and Rule 65 of the Federal Rules of Civil

Procedure, moves the Court for entry of a Temporary Restraining Order or Preliminary

Injunction enjoining Defendants We Build the Wall, Inc., Fisher Industries, Fisher Sand and

Gravel Co., and Neuhaus & Sons, LLC., and all persons acting on their behalf, from constructing

a bollard structure, wall or similar structure along the banks of the Rio Grande River and/or

otherwise altering the banks of the Rio Grande in furtherance of said construction prior to

obtaining USIBWC authorization, pending entry by the Court of a final judgment in this action.

       This motion is based on the following grounds:

       1. Contemporaneously with the filing of this motion, the United States filed a

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     Complaint alleging that Defendants are in the process of constructing a bollard

     structure, wall or similar structure on the banks of the Rio Grande River prior to

     obtaining USIBWC authorization.

  2. Unless enjoined by this Court, Defendants may significantly and irreparably alter the

     character of the banks of the Rio Grande River before this Court can enter a final

     judgment. Defendants have publicly proclaimed their intent to build a bollard

     structure, wall or similar structure on the banks of the Rio Grande River.

  3. There is a substantial likelihood that Plaintiff will establish that Defendants’ actions

     in the construction of a bollard structure, wall or similar structure along the bank and

     in the floodplain of the Rio Grande River without hydraulic studies completed by

     WBTW and Fisher Industries and subsequent analysis by the USIBWC for deflection

     and obstruction of water may cause a violation of the 1970 Treaty between the United

     States and Mexico. (Treaty to Resolve Pending Boundary Differences and Maintain

     the Rio Grande and Colorado River as the International Boundary, U.S. - Mex., Art.

     IV, Nov. 23, 1970, T.I.A.S. 7313).

  4. There is a substantial likelihood that Plaintiff will establish that Defendants’ actions

     in the construction of a bollard structure, wall or similar structure along the bank and

     in the floodplain of the Rio Grande River that causes deflection or obstruction of

     water could trigger the obligation under the 1970 Treaty for the United States to

     remove or modify such structure (id.), including as authorized by 22 U.S.C. § 277d-

     34.

  5. There is a substantial likelihood that Plaintiff will establish that Defendants’ actions

     in the removal of vegetation and grading of the banks of the Rio Grande River which

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     is the property of the USIBWC may cause a shift of the Rio Grande river channel

     and, therefore, a shift of the international boundary line which runs in the center of

     the riverbed, may cause a violation of the 1970 Treaty, (Id. at II, Art. IV) and is

     contrary to President’s authority under Article II of the Constitution, including the

     power to conduct the foreign relations of the United States.

  6. There is a substantial likelihood that Plaintiff will establish that Defendants’ actions

     in the construction of a bollard structure, wall or similar structure along the bank and

     in the floodplain of the Rio Grande River without USIBWC permission impedes the

     President’s authority under Article II of the Constitution, the USIBWC’s authority

     under the 1970 Treaty, and the Commissioner’s and Secretary of State’s authority by

     statute, including 22 U.S.C.A. § 277d-37, to determine the appropriate location of

     the international border and to make decisions that are final with respect to it.

  7. A Temporary Restraining Order is necessary to preserve the status quo, to prevent

     the irreparable injury to the public that would result from the Defendants constructing

     a bollard structure, wall or similar structure on the banks of the Rio Grande River

     prior to obtaining USIBWC authorization, and to allow the Court to render effective

     relief if the Plaintiff prevails at trial. Plaintiff would have no adequate remedy at law,

     and this Court’s ability to fashion effective relief would be significantly impaired, if

     Defendants proceed to construct a bollard structure, wall or similar structure on the

     banks of the Rio Grande River that is found, after trial, to be unlawful.

  8. Any harm to Defendants from enjoining their efforts in constructing a bollard

     structure, wall or similar structure on the banks of the Rio Grande River would be

     outweighed by the importance of the preservation of the above-referenced treaty.

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        9. Granting the requested preliminary relief will serve the public interest.

        10. Pursuant to Federal Rule of Civil Procedure 65(c), neither the United States nor any

            officer or agency of the United States is required to post a bond as a prerequisite to

            the issuance of an injunction.

                                        BACKGROUND

       In the 1930’s, the International Boundary and Water Commission, United States and

Mexico, United States Section (“USIBWC”) constructed the Lower Rio Grande Flood Control

Project (”LRGFCP”) (initial authorization in Title II of the National Industrial Recovery Act of

June 13, 1933, 48 Stat. 195, Public Works Administration funds; further work Act of August 19,

1935, 49 Stat. 660, codified at 22 U.S.C. § 277a, b, c, and d.) The purpose of the project is to

provide flood protection for communities along the Rio Grande River from Peñitas, Texas, to the

Gulf of Mexico. The Project includes, in part, river levees and floodways adjacent and parallel to

the mainstem of the Rio Grande River in Hidalgo County, Texas. The LRGFCP was improved

between 1958 and 1961, and again in 1970.

       In 1961, the State of Texas deeded to the USIBWC the bed and banks of the Rio Grande

River in Hidalgo County.

       The United States and Mexico entered into a treaty in 1970 which requires, in part, that the

United States prohibit any works in the United States that will, in the judgment of the Commission,

cause deflection or obstruction of the normal flow of the Rio Grande River or its flood flows.

(Treaty to Resolve Pending Boundary Differences and Maintain the Rio Grande and Colorado

River as the International Boundary, U.S.- Mex., Art. IV, Nov. 23, 1970, T.I.A.S. 7313.) Further,

the United States agreed that the international boundary between the United States and Mexico in

the limitrophe sections of the Rio Grande shall run along the middle of the channel occupied by

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normal river flows and that this boundary determines sovereignty over the lands on either side of

it. (Id. at Art. II. A.) To stabilize the river channel and preserve the location of the international

boundary the United States and Mexico agreed to various obligations and other treaty provisions

in order to reduce the shifting of the channels of the Rio Grande, in their limitrophe sections and

to protect the Rio Grande against erosion. (Id. at Art. IV.)

       To implement the United States’ 1970 Treaty obligations, the USIBWC requires

proponents of projects in the US floodplain to submit hydraulic modeling for their project to the

USIBWC. The USIBWC analyzes the hydraulic model and confers with its Mexican counterpart

about the analysis. If there is no deflection or obstruction, the USIBWC issues a letter of no

objection to the project proponent. If there is a deflection or obstruction, the USIBWC typically

requests that the proponent modify its project.

       Under Article 24 of the 1944 Treaty, the USIBWC “shall have, to the extent necessary to

give effect to the provisions of this Treaty, jurisdiction over the works constructed exclusively in

the territory of its country whenever such works shall be connected with or shall directly affect the

execution of the provisions of this Treaty.”        Article 24 also provides that the USIBWC

Commissioner may invoke the jurisdiction of the courts or other appropriate agencies of the United

States to aid in the execution and enforcement of the powers and duties the Commission is

entrusted and empowered to implement under this and other treaties. (Utilization of Waters of the

Colorado and Tijuana Rivers and of the Rio Grande, US -Mex, Feb. 3, 1944, T.S. 944.)

       Specifically, the United States of America requests a temporary restraining order and a

corresponding preliminary injunction after notice enjoining Defendants, and Defendant’s officers,

agents, servants, employees, and attorneys, and all persons in active concern or participation with

them, from:

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    (1) constructing a bollard structure, wall or similar structure along the bank and within the

        floodplain of the Rio Grande River on land described as an 807.73 gross acre tract of land

        out of the WEST ADDITION TO SHARYLAND SUBDIVISION, Lots 9-1, 9-2, and Parts

        of Lots 9-3, 9-4 and Parts of Lots 10-1, 10-2, and 10-3 and Part of Porcion 53 and 54,

        Hidalgo County, Texas, as per map or plat thereof recorded in Volume 1, Page 56, Map

        Records, Hidalgo County, Texas as described in the Special Warranty Deed filed as

        Document No. 2752394, Official Records of Hidalgo County, Texas (hereinafter described

        in its entirety as the “Neuhaus Property”) 1 until such time as WBTW and Fisher Industries

        comply with the requirements of the USIBWC pursuant to the 1970 Treaty between the

        United States and Mexico. (Treaty to Resolve Pending Boundary Differences and Maintain

        the Rio Grande and Colorado River as the International Boundary, US – Mex, Nov. 23,

        1970, TIAS 7313.);

    (2) constructing a bollard structure, wall or similar structure along the bank and within the

        floodplain of the Rio Grande River on the Neuhaus Property until such time as USIBWC

        fulfills its analysis and conference requirements pursuant to the 1970 Treaty between the

        United States and Mexico. (Treaty to Resolve Pending Boundary Differences and Maintain

        the Rio Grande and Colorado River as the International Boundary, US – Mex, Nov. 23,

        1970, TIAS 7313.); and

    (3) further work impacting the bank of the Rio Grande on the Neuhaus Property until such

        time as USIBWC reviews the proposed changes to the embankment and issues a permit

        allowing such modification.



1
 For the full metes and bounds description of the Neuhaus Property, see the Special Warranty Deed attached as
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                                              FACTS

       An organization called We Build the Wall (“WBTW”) has contracted with Fisher

Industries, a subsidiary of Fisher Sand and Gravel Co., to construct a bollard structure, wall or

similar structure in the floodplain along the Rio Grande River in an area near RGV03 by Bentsen

State and Anzalduas Park, south of Mission, TX.

       WBTW claims to have acquired a legal interest in the land along the bank and within the

floodplain of the Rio Grande River from Neuhaus & Sons, LLC (“Neuhaus”) in order to construct

a bollard structure. See Exhibit 1 for the metes and bounds description of the Neuhaus Property

from which WBTW allegedly acquired an interest.

       On or about the evening of November 13, 2019, Fisher Industries submitted to USIBWC

two documents with regard to the hydraulic impact of their proposed bollard structure, wall or

similar structure. The documents submitted contained very little substance and failed to show the

extent of any hydraulic testing that may have been conducted by WBTW or Fisher Industries. This

documentation provided scant detail about the planned work on the bank of the Rio Grande on the

Neuhaus Property. See Declaration of Padinare Unnikrishna attached as Exhibit 2.

       On or about November 15, 2019, the USIBWC emailed Fisher Industries and WBTW

through its general counsel, Kris Kobach, and requested that they: 1) Submit a completed hydraulic

analysis and packet of additional materials for analysis by the USIBWC pursuant to the 1970

treaty; 2) cease construction of the bollard structure until the USIBWC could analyze the model,

confer with Mexico, and issue a letter regarding whether there is a deflection or obstruction as a

result of the construction; and 3) stop utilizing the USIBWC levee for vehicular traffic.

       On or about November 15, 2019, WBTW and Fisher Industries began clear-cutting a swath

on the Neuhaus Property beginning at the bank of the Rio Grande River and clearing inland

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approximately 120 feet wide. To date, WBTW has cleared over three miles of riverbank on the

Neuhaus Property and continues to prepare the immediate area of the riverbank for trenching and

installation of a bollard structure, wall or similar structure.

        On or about November 19, 2019, the USIBWC sent to Fisher Industries the model required

for projects in the U.S. floodplain. See Declaration of Dr. Apurba Borah attached as Exhibit 3.

An engineer with Fisher Industries replied stating that he had received the email and would use

the model. Id.

        On or about November 19, 2019, USIBWC sent to Fisher Industries and WBTW two

emails, one of which gave IBWC’s contact information and the other which asked for more detail

about their project’s impact on the banks of the Rio Grande. See Declaration of John Claudio

attached as Exhibit 4.

        On or about November 20, 2019, WBTW announced during an interview with a local news

network that it would not do any construction activity until the USBIWC completed its hydraulic

analysis. On or about November 20, 2019, WBTW posted a tweet on its twitter feed that reflected

that Fisher Industries and WBTW were altering the character of the bank of the Rio Grande.




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       https://twitter.com/briankolfage/status/1197504335388794880?s=12;
       https://twitter.com/briankolfage/status/1197526566512812034?s=12

       The vegetation removal and grading of the banks of the Rio Grande River on the Neuhaus

Property by Fisher Industries and WBTW was not permitted by USIBWC, the owner of the banks

of the Rio Grande River.

       On or about November 21, 2019, Fisher Industries confirmed that: it would not commence

construction of a bollard fence, wall or similar structure on the Neuhaus Property until USIBWC

conducted its hydraulic analysis; that it was removing vegetation from the riverbank and grading

it; and that its work on the riverbank would be included in its hydraulic analysis for its construction

project. See Declaration of John Claudio attached as Exhibit 4.

       On or about December 3, 2019, WBTW posted the message and video below to their

website requesting donations to continue building their private wall.

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       As of December 5, 2019 at 9:00a.m. on information and belief, WBTW has continued to

clear the immediate area of the riverbank and conduct other work on the Neuhaus Property and

has failed to produce the requested documents and studies requested by the USIBWC for analysis

regarding compliance or noncompliance with the terms of the 1970 treaty. In addition, trenching



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has occurred and steel rebar structures have been place in the ground.             Due to this latest

development, a temporary restraining order is necessary.

                                           ARGUMENT

        The decision to grant a temporary restraining order and preliminary injunction lies within

 the discretion of the district court, which should be exercised when the movant demonstrates:

 (a) a substantial likelihood of success on the merits; (b) a substantial threat of immediate and

 irreparable harm, for which it has no adequate remedy at law; (c) that greater injury will result

 from denying the injunctive relief than from its being granted; and (d) that the injunctive relief

 will not disserve the public interest. See, e.g., Winter v. Natural Res. Def. Council, Inc., 555 U.S.

 7, 11 (2008) (equitable factors for injunctive relief); Lakedreams v. Taylor, 932 F.2d 1103, 1107

 (5th Cir. 1991); Daniels Health Scis., LLC v. Vascular Health Scis., LLC, 710 F.3d 579, 582

 (5th Cir. 2013); Adams EMS, Inc. v. Azar, No. H-18-1443, 2018 WL 3377787, at *3 (S.D. Tex.

 July 11, 2018).

        The issuance of relief in the form of the requested temporary restraining order is both

 permissible and necessary in this matter. See FED. R. CIV. P. 65(b)(1). Defendants have not

 obtained the necessary authorization to construct a bollard structure on the banks of the Rio

 Grande River. There is a substantial threat of immediate and irreparable harm if Defendants are

 permitted to engage in their construction prior to the USIBWC analyzing whether their activities

 would create unacceptable deflection or obstruction of the floodplain. Furthermore, the severity

 of the injury the United States would likely face is much greater in comparison with the minor

 inconvenience of a short-term delay on Defendants’ border activities. Finally, the temporary

 cessation of Defendants’ construction activities along the border will ensure compliance with

 the treaties between the United States and Mexico pending the Court’s resolution of this matter.

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                                            PRAYER

       In light of the foregoing, the United States respectfully requests that the Court grant the

above-requested temporary restraining order and thereafter set a hearing on the United States’

request for a preliminary injunction.

                                                      Respectfully submitted,

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                                                      United States Attorney
                                                      Southern District of Texas
                                                      DANIEL DAVID HU
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